Case 2:05-cv-O2400-.]DT-dl<v Document 6 Filed 08/17/05 Page 1 of 2 PagelD 12

 

 

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WESTERN DISTRICT OF TENNESSEE f?i’ 557ng
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Eastern Dlvlslon
JUDGMENT IN A CIVIL CASE

JOHNNY LEE BURROSS,
V.
MADISON COUNTY, ETAL., CASE NUMBER: 1:05-2400-T/V

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

lT lS ORDERED AND ADJUDGED that in compliance With the order entered in
the above-Styled matter on 8/12/2005, this case is hereby DlS|\/l|SSED in its entirety.
lt is also CERT|F|ED that any Appeal by plaintiff is not taken in good faith. The plaintiff
is instructed that if he Wishes to take advantage of the installment procedures for paying
the appellate filing fee, he must comply With the procedures set out in lVchore and §
1915(a)-(b). For analysis under 28 U.S.C. § 1915(9) of future filings, this is the FlRST
dismissal of one of Plaintiff’s cases as frivolous or for failure to state a claim.

APPRo\/ED-

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JAME§ D. TODD
UNITED STATES DISTRICT JUDGE

THOMAS M. GOULD

 

 

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DATE DEPUTY CLERK

This document entered on the docket sheet in compliance

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with Ruie 53 and/or 79(3) FRCP on 13 l f EB! Ob.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02400 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

Johnny L. Burross

Northwest Correctional CompleX(NWCX)
214034

Route l, P.O. Box 660

Tiptonville7 TN 38079

Honorable J ames Todd
US DISTRICT COURT

